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Attorneys for Plaintiff,
Fernando Orozco

VS.

Reliant Capital Solutions; and DOES 1-10,:
inclusive,

Defendants.

 

 

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
EASTERN DIVISION
m ml ‘§ m €\,Q;GW§VA,/
Femando Orozco, Case No.: LD
Plaimiff, COl\/H’LAINT FOR DAMAGES

1. VIOLATION OF FAIR DEBT
COLLECTION PRACTICES ACT,
15 U.S.C. § 1692 ET. SEQ;

2. VIOLATION OF FAIR DEBT
COLLECTION PRATICES ACT,
CAL.CIV.CODE § 1788 ET. SEQ.

JURY TRIAL DEMANDED

 

 

 

COMPLAINT FOR DAMAGES

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For this Cornplaint, the Plaintiff, Fernando Orozco, by undersigned counsel,

states as follows:

JURISDICTION

l. This action arises out of Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of
Plaintiff’s personal privacy by the Defendants and its agents in their illegal efforts to
collect a consumer debt.

2. Supplernental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
Defendants transact business here and a substantial portion of the acts giving rise to

this action occurred here.

PARTIES

4. The Plaintiff, Fernando Orozco (hereafter “Plaintiff”), is an adult
individual residing in Fontana, California, and is a “consurner” as the term is defined
by 15 U.S.C. § 1692a(3).

5. Defendant, Reliant Capital Solutions (“Reliant”), is an Ohio business
entity With an address of 750 Cross Pointe Road, Suite G, Gahanna, Ohio 43230 ,
operating as a collection agency, and is a “debt collector” as the term is defined by 15

U.s.C. § 16923(6).

 

2 COMPLAINT FOR DAMAGES

 

 

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6. Does 1-10 (the “Collectors”) are individual collectors employed by
Reliant and Whose identities are currently unknown to the Plaintiff. One or more of

the Collectors may be joined as parties once their identities are disclosed through

 

discovery.
7. Reliant at all times acted by and through one or more of the Collectors.
ALLEGATIONS APPLICABLE T() ALL COUNTS
A. The Debt
8. The Plaintiff allegedly incurred a financial obligation in the approximate

amount of $1,500.00 (the “Debt”) to University of Phoenix (the “Creditor”).

9. The Debt arose from services provided by the Creditor Which Were
primarily for family, personal or household purposes and which meets the definition
of a “debt” under 15 U.S.C. § 1692a(5).

10. The Debt Was purchased, assigned or transferred to Reliant for collection,
or Reliant Was employed by the Creditor to collect the Debt.

11. The Defendants attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. § 1692a(2).

B. Reliant Enggges in Harassment and Abusive Tactics
12. Within the last year, Reliant contacted Plaintiff in an attempt to collect

the Debt.

 

3 COMPLAINT FOR DAMAGES

 

 

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13. Reliant contacted Plaintiff at his place of employment in an attempt to
collect the Debt.

l4. Plaintiff informed Reliant that calls to his workplace were inconvenient
and prohibited by his employer and directed that calls there stop immediately. Plaintiff
further instructed that Reliant to cease all calls to him, and communicate only with
him in writing.

15. Despite being told the foregoing, Reliant thereafter continued to call
Plaintiff at his place of employment, placing approximately two calls per day on a
daily basis. During each contact, Plaintiff reiterated the foregoing, however, Reliant
continued to call Plaintiff at his place of employment,

l6. The repeated call to Plaintiff’s workplace caused a great amount of
distress to Plaintiff and caused Plaintiff to fear that his employment was in jeopardy.

17. During one conversation in October of 2012, Reliant demanded
immediate payment of the Debt. Plaintiff advised Reliant that he could not
immediately pay the Debt, but would pay in December, and again demanded that calls
to him cease. Reliant called Plaintiff again that same day demanding payment of the
Debt.

18. Reliant spoke to Plaintiff with a bullying and aggressive tone in an effort
to intimidate him into making immediate payment, including telling Plaintiff it was

marking his account as “refusal to pay” and was “putting [him] down for non-

 

4 COMPLAINT FOR DAMAGES

 

 

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compliance.” These statements caused Plaintiff worry and concern over what further

steps Reliant was going to take.

COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692, et seq.

l9. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

20. The Defendants contacted the Plaintiff at his place of employment,
knowing that the Plaintiff’s employer prohibited such communications, in violation of
15 U.S.C. § 1692c(a)(3).

21. The Defendants engaged in behavior the natural consequence of which
was to harass, oppress, or abuse the Plaintiff in connection with the collection of a
debt, in violation of 15 U.S.C. § 1692d.

22. The Defendants caused a phone to ring repeatedly and engaged the
Plaintiff in telephone conversations, with the intent to annoy and harass, in violation
of 15 U.S.C. § 1692d(5).

23. The Defendants used false, deceptive, or misleading representation or
means in connection with the collection of a debt, in violation of 15 U.S.C. § l692e.

24. The Defendants used unfair and unconscionable means to collect a debt,

in violation of 15 U.S.C. § 1692f.

 

5 COMPLAINT FOR DAMAGES

 

 

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25. The foregoing acts and omissions of the Defendants constitute numerous
and multiple violations of the FDCPA, including every one of the above-cited
provisions.

26. The Plaintiff is entitled to damages as a result of the Defendants’
violations.

M
vIoLATIoN oF THE RoSENTHAL FAIR DEBT CoLLECTIoN
PRACTICES ACT, Cal. Civ. Code § 1788 et seq.

27. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

28. The Rosenthal Fair Debt Collection Practices Act, California Civil Code
section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
practices in the collection of consumer debts.

29. Reliant Capital Solutions, in the regular course of business, engages in
debt collection and is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).

30. The Defendants caused a telephone to ring repeatedly and engaged the
Plaintiff in continuous conversations with an intent to annoy the Plaintiff, in violation
of Cal. Civ. Code § 1788.11(d).

31. The Defendants communicated with the Plaintiff with such frequency as

to be considered harassment, in violation of Cal. Civ. Code § 1788.1l(e).

 

6 COMPLAINT FOR DAMAGES

 

 

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32. The Defendants failed to comply with the provisions of 15 U.S.C. §
1692, et seq., in violation of Cal. Civ. Code § 1788.13(e).

33. The Defendants did not comply with the provisions of Title 15 , Section
1692 of the United States Code, in violation of Cal. Civ. Code § 1788.17.

34. The Plaintiff is entitled to damages as a result of the Defendants’

violations.

M
INvAsroN oF PRIvACY BY INTRUSIoN UPoN sECLUSIoN

35. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

36. The Restatement of Torts, Second, § 652B defines intrusion upon
seclusion as, “One who intentionally intrudes. . .upon the solitude or seclusion of
another, or his private affairs or concerns, is subject to liability to the other for
invasion of privacy, if the intrusion would be highly offensive to a reasonable person.”

37. California further recognizes the Plaintiff’s right to be free from
invasions of privacy, thus the Defendants violated California state law.

38. The Defendants intentionally intruded upon Plaintiff’s right to privacy by
continually harassing Plaintiff with the above referenced telephone calls.

39. The telephone calls made by the Defendants to Plaintiff were so

persistent and repeated with such frequency as to be considered, “hounding the

 

7 COMPLAINT FOR DAMAGES

 

 

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plaintif ,” and, “a substantial burden to her existence,” thus satisfying the Restatement
of Torts, Second, § 652B requirement for an invasion of privacy.

40. The conduct of the Defendants in engaging in the illegal collection
activities resulted in multiple invasions of privacy in such a way as would be
considered highly offensive to a reasonable person.

41. As a result of the intrusions and invasions, the Plaintiff is entitled to
actual damages in an amount to be determined at trial from the Defendants.

42. All acts of the Defendants and its agents were committed with malice,
intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.

 

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays that judgment be entered against the
Defendants:

A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the
Defendants;

B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)
against the Defendants;

C. Costs of litigation and reasonable attomey’s fees pursuant to l5 U.S.C.
§ 1692k(a)(3) against the Defendants;

D. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);

 

8 COMPLAINT FOR DAMAGES

 

 

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E. Statutory damages of $1,000.00 for knowingly and willfully committing
violations pursuant to Cal. Civ. Code § 1788.30(b);

F. Actual damages from the Defendants for the all damages including
emotional distress suffered as a result of the intentional, reckless, and/or
negligent FDCPA violations and intentional, reckless, and/or negligent
invasions of privacy and intentional infliction of emotional distress in an
amount to be determined at trial for the Plaintiff;

G. Punitive damages; and

H. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

DATED: November 14, 2012 TAMMY HUSSIN
/\:<\N:*Y
By:

Tammy Hussin, Esq.
Lemberg & Associates, LLC
Attorney for Plaintiff, Fernando Orozco

 

 

9 COMPLAINT FOR DAMAGES

 

 

